Case No. 1:20-cr-00305-DDD           Document 370        filed 01/23/24     USDC Colorado             pg 1
                                              of 9




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD-01

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.
 1. MICHAEL AARON TEW,

        Defendant.



             MOTION IN LIMINE TO PROHIBIT THE IMPERMISSIBLE AND
               UNCONSTITUTIONAL USE OF PROFFER AGREEMENTS


        Defendant Michael Aaron Tew (“Mr. Tew”) respectfully moves the Court in limine for a

 pre-trial ruling limiting the scope of the potential admissibility of statements made during two

 proffer agreements between Mr. Tew and the government during the government’s case-in-chief.

 The government opposes the relief sought herein.

                                            Introduction

        On Friday, January 19, 2024, the government stated its intention to affirmatively admit

 statements made by Mr. Tew during interviews with the government team during its case-in-

 chief at trial if Mr. Tew breached the proffer agreements preceding those interviews. The proffer

 letters at issue, dated July 12, 2020, and July 27, 2020 (but each signed in the days thereafter),

 were executed prior to Mr. Tew twice meeting with the government and providing information

 germane to this case. Based on recent communications with the government, undersigned

 counsel understands that the government will take the position that such a “breach” would occur

 at trial should the defense present anything contrary to what Mr. Tew said during the proffers,
Case No. 1:20-cr-00305-DDD            Document 370         filed 01/23/24     USDC Colorado             pg 2
                                               of 9




 including anything said by counsel in opening statements, closing argument, or during cross-

 examination of a government witness. This interpretation, however, is a clear overreach, as it

 stymies Mr. Tew’s constitutional rights to present a complete defense at trial, including the

 nearly unfettered right to cross-examine witnesses, his right to due process, effective assistance

 of counsel and a fair trial. The government’s interpretation cannot survive serious scrutiny, or

 any at all considering its request is tantamount to handicapping Mr. Tew’s right to defend

 himself in any meaningful way.

         The government stated that it intends to raise this issue with the Court in its trial brief.

 However, Mr. Tew raises it in limine because of its significance and singular ability to prejudice

 the defense at trial. As such, this Motion merits consideration and a pre-trial ruling before a jury

 is empaneled and opening statements occur in this case. 1 Mr. Tew respectfully moves this Court

 to preclude the government from introducing evidence related to his proffer statements in its

 case-in-chief because doing so will handicap the defense in a manner that creates incurable

 prejudice at trial, and because such a request is completely inappropriate based on the facts of

 this case.

                                         Factual Background

         On July 9, 2020, defendant Michael Tew made his initial appearance in this matter and

 was granted pre-trial release. See Doc. 7 and 9. Less than a week later, on July 15, 2020, Mr.



 1
   The Court’s prior Order Regarding Pretrial Deadlines and Pending Motions, Doc. 241,
 establishes that motions in limine are due fourteen days before the Trial Preparation Conference,
 That deadline was not specified in the last order, Doc. 318, and if applied to the presently
 scheduled Trial Preparation Conference, it has already passed. The defense learned of this new
 development upon examining the government’s preliminary exhibit list and corresponding with
 counsel on January 19, 2024. Given the significance of the issues involved this issue cannot wait
 for a trial brief, and the defense does not view it as an issue that should be addressed as other
 routine trial brief issues are addressed. If this matter goes unaddressed before trial commences,
 the government’s request will significantly prejudice the defense as trial.
                                                    2
Case No. 1:20-cr-00305-DDD         Document 370        filed 01/23/24     USDC Colorado        pg 3
                                            of 9




 Tew and his then counsel, Mr. Michael Sheehan, met with federal authorities. Prior to the

 meeting, the parties reached a proffer agreement (dated July 12, 2020, included herein as Exhibit

 A, INV_00007873-7875) regarding the statements that Mr. Tew agreed to provide and detailing

 the use the government could make of those statements. For purposes of this Motion, paragraph

 four provides the contested language:

        The government may also use any statements made by your client during the
        proffer, either as evidence or for cross-examination, at trial or any other stage of
        the criminal prosecution, if your client later testifies, offers other evidence, or
        presents a position (including through affidavit or in argument) that contradicts
        statements made by your client during the proffer. By signing this letter, you and
        your client specifically agree that the government may use your client’s
        statements or information in the circumstances described above. See United States
        v. Mezzanatto, 513 U.S. 196 (1995).

 Ex. A at 2. This exact paragraph is repeated in the proffer agreement dated July 27, 2020

 (included herein as Exhibit B, INV_00007868-7871) that covered Mr. Tew’s July 28, 2020,

 meeting with authorities. However, Mr. Tew’s attorney had changed. At that time, Mr. Tew was

 represented by Mr. Eric Creizman and Ms. Melissa Madrigal of the New York firm Armstrong

 Teasdale LLP, who entered their appeared in this matter the same day the second proffer

 interview occurred. Doc. 17. While the proffer agreements are similar, the first agreement

 specifically carves out an exception regarding matters involving Kimberley Tew (“Mrs. Tew”).

        But it gets messier from that point onwards. At the time of the second proffer agreement,

 the one in which questions about Mrs. Tew were now on the table, Mrs. Tew had a lengthy

 professional relationship with Mr. Tew’s counsel, who at one time considered them each as friends.

 Within two weeks after the second proffer was held, Mr. Tew’s counsel moved to withdraw citing,

 in part, Mrs. Tew’s interference with his representation. See Doc. 26, affidavit of attorney Eric

 Creizman. Months passed, but eventually Mrs. Tew was indicted. Just over two weeks after her

 initial appearance in this case on February 10, 2021, Doc. 96, attorney Tor Bernhard Ekeland

                                                 3
Case No. 1:20-cr-00305-DDD           Document 370        filed 01/23/24      USDC Colorado        pg 4
                                              of 9




 entered his appearance on behalf of both Michael and Kimberley Tew. Doc. ECF 106. The Tews

 then would have joint representation up until the appointment of Mrs. Tew’s current counsel

 pursuant to the Criminal Justice Act on January 3, 2023. Doc. 290. None of the attorneys who

 represented Mr. Tew during the proffer interviews remain on the case. For that matter, the assigned

 prosecutors have also changed.

           Despite this history and what appears in their Memorandum in support of James log,

 Doc. 341, to be a veritable mountain of evidence against Mr. Tew, the government now intends

 to ask the Court to completely restrict Mr. Tew’s ability to present a defense at trial.

                                   Applicable Law and Argument

           On the face of the proffer letter, the government cites United States v. Mezzanatto, 513

 U.S. 196 (1995), a case in which the Supreme Court was tasked with determining, as the Ninth

 Circuit was, whether there existed “a per se rule precluding a defendant from ever waiving his

 Rule 410 protections.” See United States v. Jim, 786 F.3d 802, 810 (10th Cir. 2015) (interpreting

 and applying Mezzanatto). But Mezzanatto, an early case involving the interpretation of the federal

 statutory rules applicable to the use of statements made in the course of plea discussions, did not

 involve a written agreement and was limited to the government seeking to introduce evidence of

 the defendant’s proffered statements only after he testified to the contrary and denied his proffered

 statements under cross-examination, a result consistent with the impeachment of any witness. Id.

 at 199.

           Here, the government seeks to constrain Mr. Tew’s trial rights in a much broader way, not

 limited to impeaching Mr. Tew should he testify. Instead, the government intends to argue that

 Mr. Tew’s agreement not to “presen[t] a position (including through affidavit or in argument) that

 contradicts” his proffer statements now restricts his ability to cross-examine witnesses and present



                                                   4
Case No. 1:20-cr-00305-DDD           Document 370        filed 01/23/24      USDC Colorado         pg 5
                                              of 9




 opening statements and closing arguments to the jury. Exhibits A and B at 2. 2 Such an

 interpretation of what is, at most, vague and overbroad proffer agreement language, completely

 overlooks Mr. Tew’s many trial rights, particularly the right to confrontation. See, e.g., Crane v.

 Kentucky, 476 U.S. 683, 690 (1986) (noting that the Constitution guarantees criminal defendants

 “a meaningful opportunity to present a complete defense”) (citation omitted). Indeed, undersigned

 counsel spoke with Mr. Michael Sheehan, counsel for Mr. Tew at the time of the first proffer. Mr.

 Sheehan expressed no recollection of any understanding or interpretation of the proffer letter at

 that time as limiting in any way Mr. Tew’s ability to cross examine witnesses or present an

 unburdened opening statement. Mr. Sheehan stated his belief that such a position is not in line with

 how defense counsel in this District routinely interpret and explain such agreements to their clients.

        In effect, the government argues that Mr. Tew signed away various rights, including the

 nearly unfettered constitutional right to cross-examine witnesses against him, by providing

 allegedly voluntary statements to the government. See Delaware v. Fensterer, 474 U.S. 15, 22

 (1985) (noting that the Confrontation Clause affords a defendant a “full and fair opportunity to

 probe and expose [the] infirmities” of the government’s case “through cross-examination”). The

 government’s stance, that apparently Mr. Tew waived some type of rule-based protection

 guaranteed by Federal Rules of Evidence, does not account for Mr. Tew’s constitutional rights to

 a fair trial and to present a complete and meaningful defense, and to confrontation, due process

 and the effective assistance of counsel. In the words of the Supreme Court:

        There are few subjects, perhaps, upon which this Court and other courts have been more
        nearly unanimous than in their expressions of belief that the right of confrontation
        and cross-examination is an essential and fundamental requirement for the kind of fair
        trial which is this country's constitutional goal. Indeed, we have expressly declared that
        to deprive an accused of the right to cross-examine the witnesses against him is a denial


 2
   No reasonable interpretation of paragraph four can be said to cover what can be said in opening
 statements.
                                                   5
Case No. 1:20-cr-00305-DDD           Document 370        filed 01/23/24      USDC Colorado         pg 6
                                              of 9




        of the Fourteenth Amendment's guarantee of due process of law.

 Pointer v. Texas, 380 U.S. 400, 405 (1965).

        Under the government’s interpretation, Mr. Tew would have preserved more trial rights by

 speaking to government agents without an attorney and without the benefits of a bargained-for

 agreement. This absurd result seems accurate only if it was also the case that Mr. Tew received

 ineffective assistance of counsel or if the government’s interpretation has evolved over time now

 that Mr. Tew is no longer cooperative and wishes to try his case.

        While the waiver of constitutional rights like the confrontation of witnesses is routine in

 the context of a guilty plea, institutional safeguards prevent such waivers from merely being signed

 away. Defendants in this District, for example, file a defendant’s statement in advance of plea of

 guilty acknowledging the rights that are choosing to give up by pleading guilty. And the Court, at

 the change of plea hearing, questions each defendant about these rights and his or her choice to

 waive them. Perhaps obviously, none of those procedural safeguards were present here. And

 notably, the government has not expressed any intention of introducing Mr. Tew’s prior Notice of

 Disposition, since revoked, filed in October 2020. Doc 47.

        It cannot be reasonably argued, however, that Mr. Tew did not know that his statements to

 federal authorities could be used against him if he later changed his version of events. And it is

 perhaps a reasonable inference that Mr. Tew also knew, and agreed, that he could not affirmatively

 present evidence to the contrary. That is at least consistent, and arguably aligns with various

 holdings, like Mezzanatto, that found that rights created by statute (such as the rules of evidence)

 can be knowingly waived. But the Court in Mezzanatto acknowledged that “[t]here may be some

 evidentiary provisions that are so fundamental to the reliability of the factfinding process that they

 may never be waived without irreparably discrediting the federal courts.” Mezzanatto, 513



                                                   6
Case No. 1:20-cr-00305-DDD            Document 370         filed 01/23/24      USDC Colorado          pg 7
                                               of 9




 U.S.196, 204 (internal citation omitted). As cited by the Tenth Circuit in United States v. Mitchell,

 633 F.3d 997, 1003 (10th Cir. 2011) (quoting Rose v. Clark, 478 U.S. 570, 577-78 (1986)),

 “Without these basic protections, a criminal trial cannot reliably serve its function as a vehicle for

 determination of guilt or innocence, and no criminal punishment may be regarded as

 fundamentally fair.” See also United States v. Oluwanisola, 605 F.3d 124, 133 (2d Cir. 2010 (“A

 cross examination question that goes to the credibility of the government's witness, without a

 factual assertion contradicting the facts admitted in the proffer statement, is not sufficient to trigger

 the waiver provision here.”); United States v. Roberts, 660 F.3d 149, 158 (2d Cir. 2011) (internal

 citations omitted) (“Particular caution is required when the purported fact is asserted by counsel

 rather than through witness testimony or exhibits. The latter undoubtedly constitute evidence and,

 thus, necessarily imply some fact. By contrast, counsel's statements are not admissible evidence.

 Thus, arguments or questions challenging the sufficiency of government proof or the credibility of

 a witness without a factual assertion contradicting facts admitted in the proffer statement do not

 trigger a waiver provision.”)

         It is those basic constitutional protections – cross-examination, due process, effective

 assistance of counsel and presenting a complete and meaningful defense – that the government

 contends Mr. Tew signed away. Interpreting the proffer agreements to restrict or diminish these

 rights would infect the whole trial proceeding, denying Mr. Tew meaningful opportunity to defend

 himself and, in effect, leaving trial counsel no choice but to provide what would otherwise be

 widely considered as the ineffective assistance of counsel. The government does not get to control

 defense strategy, any of Mr. Tew’s potential defenses, and the manner in which his counsel decides




                                                    7
Case No. 1:20-cr-00305-DDD            Document 370       filed 01/23/24    USDC Colorado        pg 8
                                               of 9




 to deliver an opening statement and cross-examine government witnesses at trial.

         DATED this 23rd day of January, 2024.

                                                      /s/ Jason D. Schall
                                                 Jason D. Schall
                                                 BOWLIN & SCHALL LLC
                                                 7350 E Progress Pl Ste 100
                                                 Greenwood Village, CO 80111
                                                 Telephone: (720) 505-3861
                                                 E-mail: jason@bowsch.com

                                                      /s/ Kristen M. Frost
                                                 Kristen M. Frost
                                                 RIDLEY, LCGREEVY & WINOCUR, P.C.
                                                 303 16th Street, Suite 200
                                                 Denver, CO 80202
                                                 Telephone: (303) 629-9700
                                                 Facsimile: (303) 629-9702
                                                 E-mail: frost@ridleylaw.com

                                                 Attorneys for Michael Aaron Tew


                               CERTIFICATE OF CONFORMITY

         I hereby certify that the foregoing pleading complies with the type-volume limitation set

 forth in Judge Domenico’s Practice Standard III(A)(1).

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall


                          STATEMENT OF SPEEDY TRIAL IMPACT

         Pursuant to Judge Domenico’s Practice Standard III(C), undersigned counsel notes that

 this filing has no effect on the speedy trial clock.

                                                     /s/ Jason D. Schall
                                                 Jason D. Schall




                                                    8
Case No. 1:20-cr-00305-DDD            Document 370        filed 01/23/24     USDC Colorado     pg 9
                                               of 9




                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 23, 2024, I electronically filed the foregoing with

 the Clerk of Court using the CM/ECF system which will send notification of such filing to

 the following:

 AUSA Bryan Fields                                              David Kaplan / Jamie Hubbard
 U.S. Attorney’s Office                                         Stimson LaBranche Hubbard, LLC
 1801 California Street, Suite 1600                             1652 North Downing Street
 Denver, CO 80202                                               Denver, CO 80203
 (303) 454-0100                                                 (720) 689-8909
 Bryan.Fields3@usdoj.gov                                        kaplan@slhlegal.com
                                                                hubbard@slhlegal.com
                                                                Attorneys for Kimberley Ann Tew

        I hereby certify that I will mail or serve the filing to the following participants:

                  Mr. Michael Aaron Tew (defendant)


                                                    /s/ Jason D. Schall
                                                Jason D. Schall




                                                   9
